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                             EXHIBIT 20
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                                   UNCLASSIFIED
                                   Department of Defense
              Office for the Administrative Review ofthe Detention of Enemy
                  Combatants at US Naval Base Guantanamo Bay,Cuba
                                                                                    25 July 2005

TO:            AMEUR,MAMMAR

SUBJECT:      UNCLASSIFIED SUMMARY OF EVIDENCE FOR ADMINISTRATIVE
              REVIEW BOARD IN THE CASE OF AMEUR,MAMMAR

1. An Administrative Review Board will be convened to review your case to determine if your
continued detention is necessary.

2. The Administrative Review Board will conduct a comprehensive review of all reasonably
available and relevant information regarding your case. At the conclusion ofthis review the
Board will make a recommendation to:(1)release you to your home state;(2)transfer you to
your home state, with conditions agreed upon by the United States and your home state; or(3)
continue your detention under United States control.

3. The following primary factors favor continued detention:

   a. Training

The detainee was conscripted into the Algerian army for a mandatory term oftwo years. He
received training on the Kalashnikov, grenades, rocket propelled grenades and a small pistol.

   b. Connections/Associations

     1. The detainee stayed at the Algerian Guesthouse, located in the Hayatabad portion of
Peshawar,Pakistan.

      2. The guesthouse may have been funded by the Maktab al-Khidmat office in Peshawar,
Pakistan.

     3. The detainee worked in Peshawar for a Non-governmental Organization(NGO)named
Afghan Reconstruction, or ARCON.

      4. In 1993,the detainee worked for the Egyptian Human Relief Organization(EHRO).

      5. In May 1994,the detainee left Afghanistan and traveled to Kenya to work for the
African Muslim Agency NGO.

       6. The African Muslim Agency(AMA)is an Islamic NGO with ties to extremist
activities.



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SUBJECT: UNCLASSIFIED SUMMARY OF EVIDENCE FOR ADMINISTRATIVE
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      7. In 1994,the detainee traveled to Afghanistan to work as the office manager ofan NGO
hospital

      8. In 1996,the detainee resigned from the EHRO and remained unemployed afterward.

      9. The detainee was arrested with an individual, who worked for several years for a Saudi
organization called WAMY.

     10. The World Assembly of Muslim Youth(WAMY)is an NGO operating in Afghanistan
and may be associated with Usama Bin Ladin and/or al Qaida.

      11. The detainee is associated with Abu Ouail, a former leader ofthe International
Islamic Relief Organization(IIRO)and the information section within the NGO Muslim World
League.

      12. The IIRO is an Islamic NGO with ties to extremist activities.

     13. The detainee is associated with Abu el Abbes,the former leader ofthe Muslim
Brotherhood.

   c. Other Relevant Data

     1. On September 23, 1996,he applied for and was granted status as a United Nations
Refugee.

     2. The detainee was arrested by Pakistani authorities at his residence on 18 July 2002
because his house was a suspected al Qaida safe house.

      3. The detainee had 400 United Stales dollars when he was arrested.

      4. According to a foreign government,the detainee is a fugitive from Algeria, where he
has been wanted since 1993 for belonging to an armed group. The detainee left Algeria for
Pakistan in July 1990 where he worked for the NGO Muslim Aid for Afghan Refugees.

4. The following primary factors favor release or transfer:

   a. The detainee stated that as a Muslim, he felt that he should go out and do good deeds for
other people and found he could best do this by joining a NGO.

   b. The detainee stated he has nothing against Americans and he has no reason to fight
against Americans if he is released, because it is against his religion to kill innocents.

5. You will be afforded a meaningful opportunity to be heard and to present information to the
Board; this includes an opportunity to be physically present at the proceeding. The Assisting

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SUBJECT: UNCLASSIFIED SUMMARY OF EVIDENCE FOR ADMINISTRATIVE
         REVIEW BOARD IN THE CASE OF AMEUR,MAMMAR

Military Officer(AMO)will assist you in reviewing all relevant and reasonably available
unclassified information regarding your case. The AMO is not an advocate for or against
continued detention, nor may the AMO form a confidential relationship with you or represent
you in any other matter.




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